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September 18, 2023

By ECF

 Hon. Michael A. Hammer, U.S.M.J.
 United States District Court
 for the District of New Jersey
 50 Walnut Street
 Newark, NJ 07102

RE:       Industria de Alimentos Zenú S.A.S. v. Latinfood U.S. Corp. d/b/a Zenú Prods. Co., et al.,
          Civ. Action No. 2:16-cv-6576-KM-MAH

Dear Judge Hammer:

We represent Plaintiff Industria de Alimentos Zenú S.A.S. in the above-captioned action. Pursuant to the
Amended Scheduling Order dated July 9, 2023, ECF No. 301, Plaintiff’s damages expert report is due on
September 27, 2023 with Defendants’ responding expert report due on November 10, 2023. The
completion of all expert discovery is scheduled for December 6, 2023. Plaintiff respectfully requests to
an extension of 45 days for the first and third deadlines and 60 days for the second deadline. Plaintiff’s
expert report would then be due on November 13, 2023, Defendants’ responding report would be due on
January 11, 2024, and expert discovery would be completed by February 26, 2024.

In October 2020, Plaintiff had designated Wayne Hoeberlein as its damages expert, see ECF No. 206.
However, when Plaintiff attempted to contact Mr. Hoeberlein to start working on the report, Plaintiff was
informed that Mr. Hoeberlein retired. Plaintiff thus requires the additional time to identify a replacement
expert and prepare its report. Defendants consent to an extension of the expert discovery deadlines.

We thank the Court for its attention to this matter.

Respectfully,

/s/ Samuel Kadosh

SK:jv

cc:       Mark J. Ingber, Esq.




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